     Case 3:10-cv-01523-G Document 30 Filed 03/31/11                          Page 1 of 6 PageID 134


                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

ARTHUR CARSON,                                               §
        Plaintiff,                                           §
                                                             §             CIVIL ACTION NO.
v.                                                           §
                                                             §             3:10-CV-1523-G-BK
OFFICER KELLY AND                                            §             ECF
THE CITY OF DALLAS                                           §
          Defendants.                                        §
      DEFENDANT CITY OF DALLAS’ REPLY IN SUPPORT OF ITS MOTION TO
         DISMISS PLAINTIFF’S COMPLAINT PURSUANT TO RULE 12(b)(6)

TO THE HONORABLE COURT:

        Defendant City of Dallas (“City”) files its reply to Plaintiff’s Response to Motion to

Dismiss (“Response”) (Doc. #27), filed on March 18, 2011.

                                      I.       SUMMARY OF REPLY

        Plaintiff Arthur Carson (“Plaintiff” or “Carson”) has failed to show in his Response that

Plaintiff’s Complaint contains sufficient factual content to make Plaintiff’s claims against the

City facially plausible. Even if the City had a policy or custom of not investigating complaints

by African-American male victims of assault and property crimes, Plaintiff’s Complaint fails to

identify the City’s final policymaker for the Dallas Police Department. Plaintiff’s Complaint

moreover contains no well-pleaded facts that would permit this Court to make a rational

inference of deliberate indifference by the policymakers.                Therefore, Plaintiff’s claims made

pursuant to 42 U.S.C. § 1983 should be dismissed. Plaintiff also is not entitled to any discovery

until he has first stated a viable claim.




Defendant City of Dallas’ Reply in Support of Its Motion to Dismiss Plaintiff’s Complaint Pursuant to Rule 12(b)(6)
Arthur Carson v. Officer Kelly and the City of Dallas; Civil Action No. 3:10-cv-1523-G-BK                    Page 1
     Case 3:10-cv-01523-G Document 30 Filed 03/31/11                          Page 2 of 6 PageID 135


                         II.      ARGUMENT AND AUTHORITIES IN REPLY

A.      City’s Objection to Plaintiff’s Evidence

        Generally, in deciding a 12(b)(6) motion to dismiss, the court must limit itself to the

contents of the pleadings, including attachments thereto.                Collins v. Morgan Stanley Dean

Witter, 224 F.3d 496, 498 (5th Cir. 2000). The court may, however, take judicial notice of

matters of public record. Norris v. Hearst Trust, 500 F.3d 454, 461 n.9 (5th Cir. 2007). When

“matters outside the pleading” are submitted in connection with a Rule 12(b)(6) motion to

dismiss, the Court has complete discretion to either accept or exclude the evidence for purposes

of the motion to dismiss. Isquith ex rel. Isquith v. Middle S. Utils., Inc., 847 F.2d 186, 196 & n.3

(5th Cir. 1988); accord Gen. Retail Servs., Inc. v. Wireless Toyz Franchise, LLC, 255 Fed. App’x

775, 783 (5th Cir. 2007). If the court decides to consider such extraneous material, then the

court must treat the Rule 12(b)(6) motion as a motion for summary judgment under Rule 56, and

“[a]ll parties must be given a reasonable opportunity to present all the material that is pertinent to

the motion.” Fed. R. Civ. P. 12(d).

        In support of his opposition to the City’s motion to dismiss, Carson attaches to his

Response excerpts from a law review comment and Internet article. See Response (Doc. #27) at

PageID 124-126 (Danielle Lynn Lordi, Police Liability Under State Tort Law for Failure to

Enforce Protection Orders: The Last Demand for Accountability,” 85 Or. L. Rev. 325 (2006),

http://www.law.uoregon.edu/org/olr/archives/85/851lordi.pdf); Bashir Bakhtiari, Dallas Crime

Examiner, Dallas police beating of black man still under investigation (Sept. 15, 2010),

http://www.examiner.com/crime-in-dallas/dallas-police-beating-of-black-man-still-under-

investigation.) The City objects to the documents because they are neither attached to nor

incorporated into Plaintiff’s Complaint and are, therefore, not a part of Plaintiff’s pleadings.

(See Doc. #1, Doc. #8, and Doc. #15.) Further, Carson did not refer to either document in his

Defendant City of Dallas’ Reply in Support of Its Motion to Dismiss Plaintiff’s Complaint Pursuant to Rule 12(b)(6)
Arthur Carson v. Officer Kelly and the City of Dallas; Civil Action No. 3:10-cv-1523-G-BK                    Page 2
    Case 3:10-cv-01523-G Document 30 Filed 03/31/11                           Page 3 of 6 PageID 136


Complaint and neither is central to his Monell claim against the City. Cf. Collins, 224 F.3d at

499 (“[D]ocuments that a defendant attaches to a motion to dismiss are considered part of the

pleadings if they are referred to in the plaintiff’s complaint and are central to her claim.”) The

documents therefore should not be considered by the Court in determining the City’s motion.

        Carson also asks this Court to take judicial notice of (1) the number of excessive force

cases relating to African-American males in Dallas by Dallas Police as opposed to other races;

(2) the conviction ratio for African-American men as opposed to the overall population; (3) the

frequent number of wrongful convictions for African-American men as opposed to other races.

See Response (Doc. #27) at PageID 122. Under Rule 201 of the Federal Rules of Evidence, “[a ]

judicially noticed fact must be one not subject to reasonable dispute in that it is either (1)

generally known within the territorial jurisdiction of the trial court or (2) capable of accurate and

ready determination by resort to sources whose accuracy cannot reasonably be questioned.” Fed.

R. Evid. 201(b).        Plaintiff’s vague, conclusory, and unsubstantiated assertions are not only

irrelevant to his claims, but also inappropriate for judicial notice because they cannot be

characterized as generally known within the Northern District of Texas or capable of accurate

and ready determination by resort to sources whose accuracy cannot reasonably be questioned.

The Court should therefore decline to take judicial notice of them.




Defendant City of Dallas’ Reply in Support of Its Motion to Dismiss Plaintiff’s Complaint Pursuant to Rule 12(b)(6)
Arthur Carson v. Officer Kelly and the City of Dallas; Civil Action No. 3:10-cv-1523-G-BK                    Page 3
     Case 3:10-cv-01523-G Document 30 Filed 03/31/11                          Page 4 of 6 PageID 137


B.      Plaintiff’s Well-Pleaded Facts Fail to State a Plausible Monell Claim

        Even if the City had a policy or custom of not investigating complaints by African-

American male victims of assault and property crimes perpetrated by women, it is well-settled

that where a plaintiff relies upon the existence of a municipal custom to impose liability he must

show that the municipal policymakers acted with deliberate indifference to the known or obvious

risk that the custom would result in the deprivation of the specific rights in issue and in the

manner that those rights were abridged. See, e.g., Piotrowski v. City of Houston, 237 F.3d 567,

579 (5th Cir. 2001). In this case, Plaintiff fails to provide sufficient factual content to permit the

Court to draw the reasonable inference that the City is liable for the alleged misconduct by its

police officers. Carson has not plead the identity of the City’s final policymaker with respect to

the police department or facts that would make it plausible that the City’s policymakers were

aware of any custom of discrimination in the investigations of complaints by African-American

male victims of assault or property crimes, much less facts that would make it plausible that the

policymaker allowed such customs to continue despite a subjective awareness of a risk of

constitutional deprivations. Because Plaintiff fails to plead non-conclusory facts supporting

deliberate indifference by the City’s policymaker, the Court cannot make a reasonable inference

of municipal liability.

        For these reasons, and those set forth in the City’s motion to dismiss, Plaintiff’s claims as

to the City are insufficient to state a viable claim because Plaintiff’s well-pleaded facts do not

permit this Court to infer more than the mere possibility of misconduct.

C.      Carson Is Not Entitled to Discovery

        Carson erroneously asserts that he is entitled to discovery. See Response (Doc. #27) at

PageID 122. Carson errs. The Supreme Court was clear in Iqbal that a plaintiff is not entitled to

any discovery until he has sufficiently pleaded a claim: “Because respondent’s complaint is

Defendant City of Dallas’ Reply in Support of Its Motion to Dismiss Plaintiff’s Complaint Pursuant to Rule 12(b)(6)
Arthur Carson v. Officer Kelly and the City of Dallas; Civil Action No. 3:10-cv-1523-G-BK                    Page 4
    Case 3:10-cv-01523-G Document 30 Filed 03/31/11                           Page 5 of 6 PageID 138


deficient under Rule 8, he is not entitled to discovery, cabined or otherwise.” Iqbal, 129 S. Ct. at

1954. Thus, Carson is not entitled to ensnare the City in discovery in the vain hope that he will

find support for his speculative and conclusory allegations.

                                            III.    CONCLUSION

        Plaintiff’s allegations in his Complaint do not state a plausible claim for relief as to the

City. Carson’s allegations are vague and conclusory, and do not provide factual content beyond

labels, conclusions, and a formulaic recitation of the minimal elements of section 1983 municipal

liability claim. As a result of the lack of factual content in Plaintiff’s Complaint, his section

1983 claims lack facial plausibility because the Court cannot draw the reasonable inference that

the City is liable for the misconduct Carson alleges. Therefore, the City is entitled to dismissal

of Carson’s claims against it made pursuant to 42 U.S.C. § 1983. Carson moreover is not

entitled to salvage his insufficient complaint by engaging the City in the discovery process.

        WHEREFORE, Defendant City of Dallas prays that the Court grant its motion and

dismiss all of Plaintiff’s claims against it, that the City recover all costs of suit, and that the Court

grant the City all other relief to which it is entitled consistent with its motion.




Defendant City of Dallas’ Reply in Support of Its Motion to Dismiss Plaintiff’s Complaint Pursuant to Rule 12(b)(6)
Arthur Carson v. Officer Kelly and the City of Dallas; Civil Action No. 3:10-cv-1523-G-BK                    Page 5
    Case 3:10-cv-01523-G Document 30 Filed 03/31/11                           Page 6 of 6 PageID 139


                                                     Respectfully submitted,

                                                     THOMAS P. PERKINS, JR.
                                                     Dallas City Attorney


                                                     s/Tatia R. Wilson
                                                     Tatia R. Wilson
                                                     Senior Assistant City Attorney
                                                     Texas Bar No. 00795793
                                                     tatia.wilson@dallascityhall.com

                                                     James C. Butt
                                                     Senior Assistant City Attorney
                                                     Texas Bar No. 24040354
                                                     james.butt@dallascityhall.com

                                                     City Attorney’s Office
                                                     1500 Marilla Street, Room 7B North
                                                     Dallas, Texas 75201
                                                     Telephone: 214-670-3519
                                                     Telecopier: 214-670-0622

                                                     Attorneys for Defendants



                                       CERTIFICATE OF SERVICE

        I certify that on March 31, 2011, I electronically filed the foregoing document with the

clerk of court for the U.S. District Court, Northern District of Texas, using the electronic case

filing system of the court. I also served a copy of the City’s reply upon Plaintiff, Arthur Carson,

via certified mail, return receipt requested, at 2608 Highland Road, #110, Dallas, Texas 75228-

6002, on that same date.


                                                             s/ Tatia R. Wilson
                                                             Assistant City Attorney




Defendant City of Dallas’ Reply in Support of Its Motion to Dismiss Plaintiff’s Complaint Pursuant to Rule 12(b)(6)
Arthur Carson v. Officer Kelly and the City of Dallas; Civil Action No. 3:10-cv-1523-G-BK                    Page 6
